                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                 3:12cv___
                                [3:00cr137]


JOSEPH BERNARD TATE,                              )
                                                  )
                     Petitioner,                  )
                                                  )
Vs.                                               )              ORDER
                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                 Respondent.                      )
_______________________________                   )

       THIS MATTER is before the Court on petitioner’s Motion under 28, United States

Code, Section 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

United States v. Tate, 3:00CR137 (W.D.N.C.) #340.

I.     Initial Screening

       The court has conducted an initial screening of the petition under the Rules Governing

§ 2255Proceedings, Rule 4(b) 28 U.S.C. §2255, and finds: (1) the petition has been signed

under penalty of perjury, Rule 2(b)(5), 28 U.S.C. § 2255; and (2) that petitioner has provided

indicia that the petition was filed within one year of a decision of the Supreme Court,

DePierre v. United States, ___ U.S. ___, 131 S.Ct. 2225 (June 9, 2011), which he contends

initially recognized the right he herein asserts. For the reasons discussed below, however,

petitioner has not asserted a cognizable claim for relief cognizable under § 2255(a).

II.    Dismissal of Petitioner’s Claim Under DePierre

       In DePierre, the Supreme Court held that the term “cocaine base,” as used in 21

U.S.C. § 841(b) means not just crack cocaine, but cocaine in its chemically basic form, that

is, the molecule found in crack cocaine, freebase, and coca paste, notwithstanding that the
                                            -1-



      Case 3:00-cr-00137-MOC         Document 341       Filed 06/07/12     Page 1 of 3
Sentencing Commission defined “cocaine base” to mean “crack” for the purposes of the

Federal Sentencing Guidelines. Id., 131 S.Ct. 2231-32. Petitioner contends that DePierre

requires the government to “establish the Scientific Identification of the substance . . . to support a

conviction and sentence under 841(b)(iii).” Memorandum of Law in Support (#340-1), at 2.

       Clearly, DePierre established that “cocaine base” as used in 21 U.S.C. § 841(b)(1)

means not only crack cocaine, but all cocaine in its chemically basic form. DePierre, 131

S.Ct. at 2231– 32. While defining the term “cocaine base,” DePierre does not address or

specify the type of proof the government must use to prove distribution of cocaine base. Id.;

McCullers v. United States, 2012 WL 1942068 (E.D.Va. May 29, 2012).1 Thus, petitioner’s

claim under § 2255 is a challenge to the sufficiency of the evidence upon which his

conviction was based,2 which is not cognizable on a motion under § 2255. Dockery v.

United States, 237 F.2d 518, 519 (4th Cir.1956) (per curiam). Under Rule 4(b) of the Rules

Governing § 2255 Proceedings, such a claim can not go forward and the Motion to Vacate

will be dismissed.

III.   Simmons Claim

       While not set forth as a contention in his petition, petitioner states in his memorandum

that he “would like to preserve a Simmons claim,” arguing that a prior conviction on which

the government relied to enhance his sentence “no longer qualifies as a felony predicate ....”

Memorandum of Law in Support (#340-1), at 3. Petitioner is advised that the Western

District of North Carolina has implemented a screening process for Simmons claims and



       1
                Due to the limits of Electronic Case Filing, a copy of such unpublished decision is
placed in the electronic docket through incorporation of the Westlaw citation.

       2
               The court notes that petitioner pled guilty.
                                                 -2-



       Case 3:00-cr-00137-MOC            Document 341         Filed 06/07/12      Page 2 of 3
appointed the Federal Defender to review cases of those who remain in custody.

       While petitioner has not set forth Simmons as a contention in this petition, the court

will in an abundance of caution bring such argument to the attention of the Federal Defender

by instructing that a copy of this Order be sent to the Federal Defender’s office.

IV.    Conclusion

       Petitioner’s DePierre contention challenges the sufficiency of the evidence upon

which his conviction was based, which is not cognizable on a motion under § 2255. In

accordance with Rule 4(b) of the Rules Governing § 2255 Proceedings, the court has

examined the motion, the attached memorandum, and the record of prior proceedings and

finds that petitioner is not entitled to any relief on his DePierre contention and will dismiss

such claim and the motion.

                                          ORDER

       IT IS, THEREFORE, ORDERED that:

       1.     Petitioner’s claim based on DePierre and his Motion to Vacate are

              DISMISSED in accordance with Rule 4(b).

       The Clerk of Court is instructed to send a copy of this Order to the Federal Defender,

attention Ross Richardson, for a Simmons screening in accordance with the Order of this

court entered in 3:12mc92.


                                              Signed: June 7, 2012




                                             -3-



      Case 3:00-cr-00137-MOC         Document 341        Filed 06/07/12     Page 3 of 3
